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   7
   8                                   UNITED STATES DISTRICT COURT
   9            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  10
  11 RICARDO ROMO, on behalf of                           Case No: 8:18-cv-00237-JLS-KES
     himself and on behalf of a Class of all
  12 other persons similarly situated,                    REPLY IN SUPPORT OF
                                                          DEFENDANT CBRE, INC.’S
  13                      Plaintiff,                      MOTION TO COMPEL
                                                          INDIVIDUAL ARBITRATION AND
  14           v.                                         STAY PROCEEDINGS
  15 CBRE GROUP, INC., a Delaware                         Date: August 10, 2018
     Corporation; and DOES 1 through 100,                 Time: 2:30 p.m.
  16 inclusive,                                           Courtroom: 10A
  17                      Defendants.
                                                          Complaint Filed: September 22, 2017
  18                                                      FAC Filed: December 4, 2017
                                                          SAC Filed: April 29, 2018
  19                                                      Trial Date: None
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   1                                    I. INTRODUCTION
   2           Plaintiff’s opposition fails to provide any reason why the parties’ arbitration
   3 agreement should not be enforced.
   4           First, Plaintiff argues that there is no evidence of an agreement to arbitrate
   5 between the parties. However, Plaintiff does not dispute that he received an offer
   6 letter setting forth the terms of his employment with CBRE, including the agreement
   7 to submit his claims to binding individual arbitration. He also does not dispute that
   8 he accessed the Candidate Gateway, reviewed the terms of his offer, electronically
   9 accepted the offer letter, and began working for CBRE thereafter. Thus, there can
  10 be no dispute that an arbitration agreement exists between the parties.
  11           Second, Plaintiff has not established that the agreement is unconscionable.
  12 The mere fact that the arbitration agreement is a contract of adhesion is insufficient
  13 to find it invalid. Plaintiff’s argument that the failure to attach the applicable
  14 arbitration rules renders the agreement unenforceable is unsupported by the law.
  15 Moreover, Plaintiff’s substantive unconscionability argument relies solely on the
  16 claim that incorporating the discovery provisions of the California Arbitration Act
  17 (“CAA”) is improper. Plaintiff does not cite any authority in support of this
  18 assertion. To the contrary, the relevant authority confirms that the discovery
  19 provisions of the California Arbitration Act are sufficient. Since no element of
  20 substantive unconscionability is present, and there is little, if any, procedural
  21 unconscionability, the agreement is enforceable.
  22           Lastly, Plaintiff concedes that his proposed class claims must be dismissed
  23 pursuant to the express terms of his agreement, and that he must proceed in
  24 arbitration on an individual basis only. Plaintiff only opposes CBRE’s motion with
  25 respect to the request that the portion of his PAGA claim seeking “victim-specific
  26 relief” also be ordered to individual arbitration. Esparza v. KS Indus., L.P., 13
  27 Cal.App.5th 1228 (2017) – the only published and binding California authority on
  28 this topic – mandates that this portion of Plaintiff’s PAGA claim be arbitrated on an

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   1 individual basis. Relevant federal authority indicates that the Ninth Circuit agrees
   2 with Esparza, and Plaintiff has not provided any persuasive reason to find
   3 otherwise. Accordingly, CBRE’s motion should be granted in full.
   4                         II. ARGUMENT AND AUTHORITIES
   5 A.        There Is Sufficient Evidence Of A Valid Agreement To Arbitrate
   6           Plaintiff alleges CBRE failed to produce evidence of an agreement to arbitrate
   7 because there is no signed writing evidencing the parties’ agreement. This assertion
   8 relies on a misrepresentation of the evidence.
   9           As a preliminary point, Plaintiff misconstrues CBRE’s burden of proof. On a
  10 motion to compel arbitration, the moving party bears only a nominal burden of
  11 demonstrating the existence of an arbitration agreement. See Condee v. Longwood
  12 Management Corp., 88 Cal.App.4th 215, 217-219 (2001); Taft v. Henley Enters.,
  13 2016 U.S. Dist. LEXIS 193641, at *6-9 (C.D. Cal. 2016). CBRE easily met this
  14 burden by submitting a copy of the agreement at issue, as set forth in Plaintiff’s
  15 offer letter, as well as a screenshot of Plaintiff’s unique Candidate Gateway page
  16 reflecting the date and time of his acceptance of the job offer, including the
  17 arbitration provision. (Hudson Decl., ¶5, Exh. B.) See, e.g., Espejo v. Southern
  18 California Permanente Medical Group, 246 Cal.App.4th 1047, 1060 (2016) (“[W]e
  19 conclude that defendants here met their initial burden by attaching to their petition a
  20 copy of the purported arbitration agreement”); Condee, 88 Cal.App.4th at 219 (To
  21 meet its burden, the “petitioner must attach a copy of the agreement to the petition,
  22 or its ‘provisions … shall be set forth’ in the petition.”) (emphasis in original). As
  23 Plaintiff concedes, an arbitration agreement need not be signed to be enforceable.
  24 See Ambler v. BT Ams., Inc., 964 F. Supp. 2d 1169, 1174 (N.D. Cal. 2013).
  25 Nonetheless, here, the evidence demonstrates that Plaintiff electronically accepted
  26 the offer letter, including the arbitration provision, and thereafter proceeded to
  27 “ready to hire status,” was hired by CBRE and worked for CBRE for over a year
  28 before he began a leave of absence. (Hudson Decl., ¶¶5-6, Exh. B.) Thus, contrary

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   1 to Plaintiff’s assertion, CBRE has produced more than sufficient evidence
   2 establishing that an agreement to arbitrate exists.
   3           An employer is only required to take additional steps to authenticate a
   4 plaintiff’s acceptance of an arbitration agreement if the validity of that acceptance is
   5 challenged. See Espejo, 246 Cal.App.4th at 1060-61. Here, Plaintiff neither
   6 disputes that he received the offer letter nor challenges his electronic acceptance of
   7 its terms on March 27, 2015. In the absence of any such challenge or dispute,
   8 CBRE was not required to present anything more. Condee, 88 Cal.App.4th at 218.
   9           Although not required to satisfy its burden, CBRE also provided the
  10 declaration of Joseph M. Hudson, the Senior Vice President of Human Resources,
  11 Global HR Operations for CBRE, with its moving papers.1 Mr. Hudson articulated
  12 in detail the steps that an applicant must take to view the offer letter on CBRE’s
  13 Candidate Gateway and electronically accept those terms, evidencing that Plaintiff,
  14 and no one else, manifested his agreement to arbitrate. Specifically, after Plaintiff
  15 was sent an email with a link directing him to the Candidate Gateway website, he
  16 was required to personally create a unique username and password to access
  17 Candidate Gateway. (Hudson Decl., ¶3.) As Mr. Hudson confirmed, Plaintiff’s
  18 Candidate Gateway account could only be accessed by inputting his unique
  19 username and password, and no one other than Plaintiff had access to that
  20 information. (Id.) Next, to accept the offer letter, Plaintiff was required to log into
  21
  22   1
         Plaintiff’s objections to Mr. Hudson’s declaration should be overruled. In his role
  23   as Senior Vice President of Human Resources, Global HR Operations for CBRE,
       Mr. Hudson has established a proper foundation that he has personal knowledge of
  24   the standard onboarding process for candidates who are offered positions with
  25   CBRE, like Plaintiff. (Hudson Decl., ¶2.) Mr. Hudson further states that he is a
       custodian of CBRE’s online databases reflecting candidate offer letters, and that the
  26   databases are maintained in the regular course of business and are updated
  27   automatically as candidates agree to and accept these onboarding documents and the
       acceptance of those offers. (Id.) Thus, Mr. Hudson can properly authenticate
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       documents obtained from those databases.
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   1 Candidate Gateway using his unique username and password, that only he had
   2 access to, and electronically click a box to indicate his acceptance. (Id., ¶5.)
   3 Without following the steps as outlined by Mr. Hudson, Plaintiff would not have
   4 proceeded to “ready to hire” status and would not have been hired by CBRE, which
   5 he was. (Id.)
   6           Plaintiff’s reliance on Espejo and Gonzalez v. CEVA Logistics U.S., Inc., 2016
   7 U.S. Dist. LEXIS 150766 (N.D. Cal. 2016), is misplaced. In both cases, the
   8 employer satisfied its burden to show an agreement to arbitrate by providing
   9 information demonstrating the “security precautions regarding transmission and use
  10 of an applicant’s unique username and password, as well as the steps an applicant
  11 would have taken” to affirm his agreement. See Espejo, 246 Cal.App.4th at 1062;
  12 Gonzalez, at *9-11. CBRE has done the same through the declaration of Mr.
  13 Hudson. Plaintiff does not contend that he did not follow the steps outlined by Mr.
  14 Hudson or that he did not have the ability to do so, nor does Plaintiff assert that he
  15 did not accept the terms of his offer letter or that someone else had access to the
  16 Candidate Gateway account. Indeed, Plaintiff submitted no declaration challenging
  17 the evidence of his acceptance. As the Court noted in Gonzalez, a “bare allegation”
  18 that the database could have been altered or hacked is insufficient. Gonzalez, at
  19 *11. Thus, an agreement to arbitrate exists.
  20 B.        The Agreement Is Not Unconscionable
  21           1.         Minimal Procedural Unconscionability, If Any, Exists
  22           Plaintiff’s assertion that the agreement is procedurally unconscionable
  23 because it is a contract of adhesion ignores the fact that California has long
  24 permitted employers to impose arbitration agreements on an employee as a
  25 condition of employment. See, e.g., Guiliano v. Inland Empire Personnel, Inc., 149
  26 Cal.App.4th 1276, 1292 (2007) (“[T]he compulsory nature of a predispute
  27 arbitration agreement does not render the agreement unenforceable on grounds of
  28 coercion or for lack of voluntariness.”); Fittante v. Palm Springs Motors, Inc., 105

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    1 Cal.App.4th 708, 721 (2003) (recognizing that contracts of adhesion are not
    2 necessarily unconscionable); Lagatree v. Luce, Forward, Hamilton & Scripps, 74
    3 Cal.App.4th 1105, 1122 (1999) (“a predispute arbitration agreement is not invalid
    4 merely because it is imposed as a condition of employment … the mandatory nature
    5 of an arbitration agreement does not, by itself render the agreement
    6 unenforceable.”); see also AT&T Mobility, LLC v. Concepcion, 131 S.Ct. 1740,
    7 1750 (2011) (“the times in which consumer contracts were anything other than
    8 adhesive are long past”). In fact, “th[e] adhesive aspect of an agreement is not
    9 dispositive.” Serpa v. California Surety Investigations, Inc., 215 Cal.App.4th 695,
   10 704 (2013).
   11           In the employment context, a contract of adhesion does not evidence a high
   12 level of procedural unconscionability absent some additional evidence of “unfair
   13 surprise,” “oppression” or “sharp practice.” Baltazar v. Forever 21, Inc., 62 Cal.4th
   14 1237, 1245 (2016). Here, there is nothing in the record, not even a declaration from
   15 Plaintiff, which supports a finding of such conduct. See Crippen v. Central Valley
   16 RV Outlet, Inc., 124 Cal.App.4th 1159, 1165 (2004) (reversing denial of a motion to
   17 compel arbitration where the plaintiff failed to “introduce or rely on any evidence of
   18 the circumstances surrounding the execution of the agreement” to set forth
   19 procedural unconscionability); Owens v. Intertec Design, Inc., 38 Cal.App.4th 72
   20 (1995) (reversing denial of petition to compel arbitration for lack of “substantial
   21 evidence” where the plaintiff failed to submit a declaration “in support of the ‘facts’
   22 underlying his arguments in opposition to the petition”). Plaintiff argues that he was
   23 only given six days to respond to the offer letter, but does not submit any evidence
   24 demonstrating that amount of time was insufficient, let alone amounted to “unfair
   25 surprise,” “oppression” or “sharp practice.” Notably, Plaintiff did not even use all
   26 the time he was permitted to review the offer, as he accepted the offer the same day
   27 as it was posted. (Hudson Decl., ¶¶4-5.) Moreover, a failure to read or fully
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    1 understand an arbitration clause is no defense to enforcement. See Madden v.
    2 Kaiser Found. Hosp., 17 Cal.3d 699, 710 (1976).
    3           Lastly, Plaintiff’s contention that the failure to attach the applicable
    4 arbitration rules creates procedural unconscionability has been foreclosed by the
    5 California Supreme Court’s holding in Baltazar, 62 Cal.4th at 1237. Like Plaintiff,
    6 Baltazar argued procedural unconscionability because the employer did not provide
    7 her “with a copy of the AAA’s rules for arbitration of employment disputes, which,
    8 by the terms of the arbitration agreement, govern any arbitration between the
    9 parties.” Id. at 1246. The Supreme Court rejected this argument, holding that the
   10 employer’s “failure to attach the AAA rules therefore does not affect our
   11 consideration of Baltazar’s claims…” Id. Notably, the Supreme Court rejected
   12 Baltazar’s reliance on the same cases Plaintiff relies upon, Trivedi v. Curexo
   13 Technology Corporation, 189 Cal.App.4th 387 (2010), and Fitz v. NCR Corp., 118
   14 Cal.App.4th 702 (2004), because those “unconscionability claim[s] depended in
   15 some manner on the arbitration rules in question,” not whether the rules were
   16 attached.2 Baltazar at 1246. Accordingly, whether or not the arbitration rules were
   17 attached to the agreement has no bearing on the unconscionability analysis. Thus, at
   18 best, the agreement has only slight procedural unconscionability.
   19           2.         There Is No Evidence Of Substantive Unconscionability
   20           Plaintiff’s sole argument that the agreement is substantively unconscionable is
   21 that it unfairly restricts the scope of permissible discovery. This argument is
   22 contradicted by the relevant authority. As an initial matter, CBRE disputes that
   23 Armendariz, including its guidance regarding the provision of sufficient discovery in
   24 arbitration, is relevant to the Court’s analysis. See AT&T Mobility v. Concepcion,
   25
   26   2
       Plaintiff also cites Zullo v. Superior Court, 197 Cal.App.4th 477 (2011) where the
   27 court noted that the failure to provide the applicable rules “adds a bit to the
      procedural unconscionability.” Id. at 485. The cases cited by Zullo were all
   28 subsequently rejected by the Supreme Court in Baltazar.

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    1 131 S.Ct. 1740, 1749 (2011) (recognizing that the FAA “embod[ies] [a] national
    2 policy favoring arbitration” . . . and “a liberal federal policy favoring arbitration
    3 agreements, notwithstanding any state substantive or procedural policies to the
    4 contrary”); see also Perry v. Thomas, 482 U.S. 483, 489-90 (1997) (internal
    5 citations omitted) (“We see nothing in the [FAA] indicating that the broad principle
    6 of enforceability is subject to any additional limitations under state law.”).
    7           In any event, the agreement more than satisfies Armendariz. The agreement
    8 provides that the arbitration “shall be conducted pursuant to the provisions of the
    9 arbitration rules of the state in which you are or were last employed by CBRE (e.g.,
   10 in California the California Arbitration Act)….” (Hudson Decl., Exh. A at p. 2.)
   11 The California Arbitration Act (“CAA”) provides the “right to take depositions and
   12 to obtain discovery regarding the subject matter of the arbitration.” Cal. Code Civ.
   13 Proc. §1283.05(a). Despite Plaintiff’s argument to the contrary, this provision
   14 allows for more than sufficient discovery and it makes no difference that depositions
   15 may not be taken unless leave to do so is granted by the arbitrator. See, e.g.,
   16 Armendariz v. Foundation Health Psychcare Servs., Inc., 24 Cal. 4th 83, 106 (2000)
   17 (arbitration agreements must allow “discovery sufficient to adequately arbitrate their
   18 statutory claim[s] including access to essential documents and witnesses, as
   19 determined by the arbitrator(s)”) (emphasis added); see also Mercuro v. Superior
   20 Court, 96 Cal.App.4th 167, 184 (2002) (“adequate discovery does not mean
   21 unfettered discovery and . . . an arbitration agreement may require something less
   22 than the full panoply of discovery provided in Code of Civil Procedure section
   23 1283.05”). As such, Plaintiff has failed to present any evidence of substantive
   24 unconscionability and the agreement should be enforced in its entirety.
   25 C.        The Relevant Authority Weighs In Favor Of Striking Plaintiff’s
   26           Representative PAGA Claim For “Victim-Specific” Relief
   27           Plaintiff concedes that his class allegations must be stricken and his claims
   28 must proceed in arbitration on an individual basis only. (Opposition at 10:11-15.)

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    1 Plaintiff disagrees, however, that his claim for “victim-specific relief” under PAGA
    2 must also be compelled to individual arbitration. In doing so, Plaintiff asks the
    3 Court to ignore Esparza, the only California binding precedent on this topic.
    4 Esparza clearly holds that a plaintiff’s PAGA claims seeking “unpaid wages are
    5 subject to arbitration pursuant to the terms of the parties’ arbitration agreement and
    6 the Federal Arbitration Act” and that “[t]he rule of nonarbitrability [of PAGA
    7 claims] adopted in Iskanian is limited to representative claims for civil penalties in
    8 which the state has a direct financial interest.” Esparza, 13 Cal.App.5th at 1245-46.
    9 Esparza expressly found that although the wages recoverable under section 558 are
   10 denominated “civil penalties,” such wages are not “civil penalties” within the
   11 meaning of the Iskanian exception to FAA preemption. Id.
   12           As an initial matter, Plaintiff does not dispute that he seeks “victim-specific
   13 relief.” (See SAC, ¶ 149.) Plaintiff’s point that section 558 does not provide a
   14 private right of action is irrelevant. Plaintiff is attempting to recover under section
   15 558 through PAGA. His arbitration agreement precludes him from pursuing such
   16 recovery on behalf of others, and requires him to pursue his individual recovery in
   17 arbitration.
   18           Plaintiff also does not dispute that Esparza’s holding is on all fours with this
   19 case. Instead, Plaintiff asks the Court to disregard this controlling authority and
   20 instead follow Lawson v. SB, N.A., 18 Cal.App.5th 705 (2017), which is no longer
   21 binding or precedential authority following the California Supreme Court’s grant of
   22 review. Further, Lawson simply assumes that because PAGA designates the wages
   23 recoverable under California Labor Code section 558 as “civil penalties,” they fall
   24 within the Iskanian exception to FAA preemption. Lawson provides no explanation
   25 at all as to how its holding squares with Iskanian’s instruction that a state may not
   26 circumvent the FAA by labeling what is effectively victim-specific relief for
   27 damages as a civil penalty. Plaintiff also cites Williams v. Superior Court, 237
   28 Cal.App.4th 642 (2015). However, Williams does not address the same issue as

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    1 Esparza, but instead involves whether a plaintiff who signed an arbitration
    2 agreement must demonstrate in arbitration that he is an “aggrieved employee”
    3 within the meaning of PAGA before he can pursue a PAGA claim in court.
    4 Williams, 237 Cal.App.4th at 649.
    5           Moreover, although Plaintiff is correct that Mandviwala v. Five Star Quality
    6 Care, Inc., 2018 U.S. App. LEXIS 2770 (9th Cir. Feb. 2, 2018), is not published, its
    7 holding should not simply be dismissed as Plaintiff suggests. Rather, Mandviwala
    8 provides clear guidance as to how the Ninth Circuit has evaluated and reconciled the
    9 conflict in Esparza and Lawson, concluding that the reasoning of Esparza is more
   10 persuasive. Id. at *3-5. At least one district court has correctly recognized
   11 Mandviwala’s guidance on this subject and agreed. See Cabrera v. CBS Rx Servs.,
   12 2018 U.S. Dist. LEXIS 43681, at *13-15 (N.D. Cal. March 16, 2018). Plaintiff has
   13 cited no contrary authority. Accordingly, Plaintiff cannot avoid, and this Court
   14 should not ignore, the weight of authority directing Plaintiff’s claim for “victim-
   15 specific relief” under PAGA to individual arbitration.
   16                                    III. CONCLUSION
   17           The evidence establishes that a valid agreement to arbitrate exists between
   18 Plaintiff and CBRE. Plaintiff has failed to demonstrate that the agreement is
   19 unconscionable or should not be enforced for any other reason. Accordingly, CBRE
   20 requests that this Court order the parties to arbitrate Plaintiff’s claims, including the
   21 claim for “victim-specific relief” under PAGA, on an individual basis and stay this
   22 matter, including the remaining non-arbitrable portion of the PAGA claim, pending
   23 completion of the arbitration.
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    1 Dated: July 27, 2018
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